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                       UNITED STATES DISTRICT COURT

                      WESTERN DISTRICT OF LOUISIANA

                            LAKE CHARLES DIVISION

  UNITED STATES OF AMERICA                *       CRIMINAL NO. 2:05-cr-20014-02
                                          *
                                          *
  VERSUS                                  *
                                          *
                                          *       JUDGE CAIN
  CHRISTIAN SENECA FIELDS                 *       MAGISTRATE JUDGE KAY

             UNITED STATES’ RESPONSE IN OPPOSITION TO
          DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

        The defendant, an inmate currently incarcerated at Fort Worth FMC, seeks

  compassionate release based on his assertion that his diagnosis of sarcoidosis and

  the prescription medication prednisone make him particularly vulnerable to

  becoming seriously ill from COVID-19 should he contract the disease in prison. For

  the reasons set forth below, this Court should deny that motion.

                            RELEVANT BACKGROUND

        A grand jury in the Western District of Louisiana charged the defendant,

  Christian Seneca Fields (“Fields”), in a nine-count Indictment on January 12, 2005

  for narcotics and firearm offenses. Count One charged Fields with conspiracy to

  distribute over fifty grams of crack cocaine, and Count Six charged Fields with

  possession of a firearm in the furtherance of a drug trafficking crime. On November

  4, 2010, Fields pled guilty to Counts One and Six of the Indictment, and Fields also

  admitted to previous convictions enhancing Fields’s sentencing range pursuant to 21

  U.S.C. § 851.

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        On March 3, 2011, the Court sentenced Fields to 300 months of incarceration,

  consecutive sentences of 240 months on Count One and 60 months on Count Six. See

  Doc. No. 191. On July 25, 2013, following a remand for re-sentencing pursuant to the

  Fair Sentencing Act, the Court amended its prior sentence and imposed a sentence of

  180 months of incarceration, consecutive sentences of 120 months on Count One and

  60 months on Count Six. See Doc. No. 220. According to inmate locator, Fields’s

  release date is September 12, 2023, leaving approximately 38 months remaining on

  his 180 month sentence.

        On April 14, 2020, Bureau of Prisons (“BOP”) received Fields’s request for

  compassionate release. In that request, Fields requested to be immediately released

  due to COVID-19 vulnerabilities. See Doc. No. 286-1, at 1. On April 21, 2020, BOP

  denied Fields’s request for release finding that Fields did not meet the criteria for

  compassionate release. Id. In its decision, BOP cited that Fields “scored out as a

  High Risk of recidivism” and that Fields had an incident report for possession of a

  cell phone within the last twelve months. Id.

                                LAW AND ARGUMENT

  I.    The defendant is not a suitable candidate for compassionate release,
        so his motion should be denied.

        “[A] judgment of conviction that includes [a sentence of imprisonment]

  constitutes a final judgment and may not be modified by a district court except in

  limited circumstances.” Dillon v. United States, 560 U.S. 817, 825 (2010) (cleaned up).

  Consistent with that principle of finality, 18 U.S.C. § 3582(c) provides that a court

  generally “may not modify a term of imprisonment once it has been imposed,” except

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  in three circumstances: (1) upon a motion for reduction in sentence under 18 U.S.C.

  § 3582(c)(1)(A), such as that presented by the defendant; (2) “to the extent otherwise

  expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

  Procedure,” 18 U.S.C. § 3582(c)(1)(B); and (3) where the defendant was sentenced

  based on a retroactively lowered sentencing range, 18 U.S.C. § 3582(c)(2).

        Relevant here, under § 3582(c)(1)(A), a court may reduce a term of

  imprisonment    upon    finding   “extraordinary   and    compelling   circumstances,”

  consistent with guideline policy statements. Under the statute as amended by the

  First Step Act, the Court may act “upon motion of the Director of the Bureau of

  Prisons, or upon motion of the defendant after the defendant has fully exhausted all

  administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

  on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

  the warden of the defendant’s facility, whichever is earlier.” Id.     In this case, the

  defendant exhausted his administrative remedies by filing his request for

  administrative remedy, and BOP denied that request on April 21, 2020. See Doc. No.

  at 268-1.

        Section 3582(c)(1)(A) provides that any reduction must be “consistent with

  applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

  3582(c)(1)(A). Here, the applicable policy statement, U.S.S.G. § 1B1.13, provides that

  a court may reduce the term of imprisonment after considering the § 3553(a) factors

  if the Court finds that (i) “extraordinary and compelling reasons warrant the

  reduction;” (ii) “the defendant is not a danger to the safety of any other person or the


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  community, as provided in 18 U.S.C. § 3142(g)”; and (iii) “the reduction is consistent

  with this policy statement.” 1 U.S.S.G. § 1B1.13.

         The policy statement includes an application note that specifies the types of

  medical conditions that qualify as “extraordinary and compelling reasons.” First,

  that standard is met if the defendant is “suffering from a terminal illness,” such as

  “metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ

  disease, [or] advanced dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i). Second, the

  standard is met if the defendant is: (1) suffering from a serious physical or medical

  condition, (2) suffering from a serious functional or cognitive impairment, or (3)

  experiencing deteriorating physical or mental health because of the aging process,

  any of which substantially diminishes the ability of the defendant to provide self-care

  within the environment of a correctional facility, and from which he or she is not

  expected to recover. U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). The application note also sets

  forth other conditions and characteristics that qualify as “extraordinary and

  compelling reasons” related to the defendant’s age and family circumstances.

  U.S.S.G. § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the possibility that




         1   The policy statement refers only to motions filed by the BOP Director. That is
  because the policy statement was last amended on November 1, 2018, and until the
  enactment of the First Step Act on December 21, 2018, defendants were not entitled to file
  motions under § 3582(c). See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat.
  5194, 5239. In light of the statutory command that any sentence reduction be “consistent
  with applicable policy statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii),
  and the lack of any plausible reason to treat motions filed by defendants differently from
  motions filed by BOP, the policy statement applies to motions filed by defendants as well.
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  BOP could identify other grounds that amount to “extraordinary and compelling

  reasons.” U.S.S.G. § 1B1.13, cmt. n.1(D).

         With regard to the last consideration relating to “extraordinary and compelling

  reasons” identified by the Director, BOP has issued a regulation defining its own

  consideration of compassionate release requests. See BOP Program Statement

  5050.50. 2     This program statement was amended effective January 17, 2019,

  following the First Step Act’s passage. It sets forth in detail BOP’s definition of the

  circumstances that may support a request for compassionate release, limited to the

  same bases the Sentencing Commission identified: serious medical condition,

  advanced age, and family circumstances. 3

         In his motion, the defendant asserts he is entitled to compassionate release

  because he suffers from sarcoidosis and takes the prescription medication prednisone.

  His medical ailment, sarcoidosis, is of a type that can be controlled and does not

  present any impediment to his ability to provide self-care in the institution. See e.g.,

  United States v. Maher, 2020 WL 390884, at *2 (Jan. 22, 2020) (denying

  compassionate release to a defendant whose medical records showed “a history of

  Crohn’s disease, prostate cancer, and hepatitis C, as well as significant unexplained



         2   Available at https://www.bop.gov/policy/progstat/5050_050_EN.pdf .

         3To the extent the defendant implies the policy statement is only advisory, that is
  incorrect. The policy statement is binding under the express terms of § 3582(c)(1)(A), and
  because it concerns only possible sentence reductions, not increases, it is not subject to the
  rule of Booker v. United States, 543 U.S. 220 (2005), that any guideline that increases a
  sentence must be deemed advisory. See Dillon v. United States, 560 U.S. 817, 830 (2010)
  (making clear that the statutory requirement in § 3582 that a court heed the restrictions
  stated by the Sentencing Commission is binding).

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  weight loss, bacterial pneumonia, and acute exacerbation of bronchiectasis” on the

  ground that the records did not show his inability to care for himself) ; United States

  v. Lynn, 2019 WL 3082202, at *2 (S.D. Ala. July 15, 2019) (denying compassionate

  release for a defendant who complained of chronic kidney failure, atrial fibrillation,

  70% blockage in multiple coronary arteries, high cholesterol, cervical disc

  degeneration, enlarged prostate, and other ailments, as none of those conditions was

  terminal, or substantially diminished his ability to provide self-care within the

  environment of a correctional facility); United States v. Bunnell, 2019 WL 6114599

  (D. Ariz. Nov. 18, 2019) (denying compassionate release even though the defendant

  had “serious medical issues” including “arthritis, sciatica, bulging lumbar discs 2-5,

  scoliosis, and degenerative disease causing central stenosis in his spine” and was

  confined to a wheelchair, as none of these was a terminal illness or substantially

  diminished his ability to provide self-care).      The government acknowledges that

  Fields’s medical records document his diagnosis and treatment for sarcoidosis, and

  the medical records show that BOP’s treatment plan has successfully treated his

  condition. But for COVID-19, Fields would not qualify for compassionate release

  because Fields condition—absent conditions created by COVID-19—does not

  substantially affects Fields’ ability to provide self-care within the correctional facility.

         The only question, then, is whether the risk of COVID-19 changes that

  assessment. The United States acknowledges that the defendant presents a risk

  factor identified by the CDC as heightening the risk of severe injury or death were




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  the inmate to contract COVID-19, namely sarcoidosis. 4               The United States agrees

  that this chronic condition presents “a serious physical or medical condition ... that

  substantially diminishes the ability of the defendant to provide self-care within the

  environment of a correctional facility” as stated in § 1B1.13, cmt. n. 1(A)(ii), in that

  at this time, his ability to provide self-care against serious injury or death as a result

  of COVID-19 is substantially diminished within the environment of a correctional

  facility by the chronic condition itself. 5

         Nonetheless, even if Fields’s ability to provide self-care against serious injury

  or death is substantially diminished within the environment of a correctional facility

  by his health condition due to the COVID-19 pandemic, the defendant is not entitled

  to relief. This Court must consider all pertinent circumstances, including the §

  3553(a) factors, and possible danger to the community. See 18 U.S.C. § 3582(c)(1)(A)

  (requiring consideration of the § 3553(a) factors “as applicable”) and U.S.S.G. §

  1B1.13(2) (requiring consideration of whether the defendant is “a danger to the safety

  of any other person or to the community, as provided in 19 U.S.C. § 3142(g)”); see also,

  United States v. Chambliss, 948 F.3d 691, 694 (5th Cir. 2020) (affirming the denial of

  compassionate release where the district court properly relied on the fact that an

  inmate suffering from terminal cancer had a violent criminal history, had committed

  a violent offense, and had served less than half the sentence imposed); United States




  4 See Centers for Disease Control, Groups at Higher Risk for Severe Illness, available at
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html.
  5 Accordingly, as the government concedes that he meets the threshold test of a medical condition

  defined in note 1(A), this Court need not consider whether the defendant’s condition falls under the
  “catch-all” provision of note 1(D).
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  v. Watson, 2020 WL 1890541, at *3 (N.D. Okla. Apr. 16, 2020) (finding the defendant

  was not eligible for compassionate release because he poses a danger to the

  community in light of the offense of conviction (six armed robberies), his lengthy

  criminal history as set forth in the PSR, and his various disciplinary infractions in

  prison, which “contradict[ ] his claims that imprisonment has changed him,” and the

  fact that even under current law, he would face a substantial sentence of 42 years on

  certain firearms charges alone, and he had served only “a small fraction” of the

  sentence originally imposed by the court ).

         At present, the defendant’s medical condition is appropriately managed at the

  facility, which is also engaged in strenuous efforts to protect inmates against the

  spread of COVID-19, and which would also act to treat any inmate who does contract

  COVID-19. 6 See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (noting BOP’s

  “extensive and professional efforts to curtail the virus’s spread.”). This is in contrast

  to the defendant’s proposed release plan, which insures neither the safety of the

  community nor the defendant because the defendant’s motion only references Fields’s

  plan to have health insurance coverage through his “friend Alana Haywood.” See

  Doc. No. 268-1, at 3. See United States v. Feiling, 2020 WL 1821457, at *8 (Apr. 10,



         6  Indeed, BOP has been planning for potential COVID-19 transmissions since January
  2020, establishing a working group to develop policies in consultation with subject matter
  experts in the Centers for Disease Control, informed by guidance from the World Health
  Organization. BOP’s plans to minimize the risk of COVID-19 transmission into and inside
  its facilities comprises several preventive and mitigation measures, including the screening
  of inmates and staff; limiting contractor access; suspension of social and legal visits;
  restrictions on inmate movements inside and between BOP facilities; and modified
  operations. BOP’s adaptations to the ongoing crisis are continuous; it is currently operating
  under        Phase      VII     of    its     COVID-19      response       plan.          See
  https://www.bop.gov/resources/news/20200520_covid-19_phase_seven.jsp.
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  2020) (noting that releasing the defendant to his home “presents its own risks to

  Defendant’s health, the health of his family and public safety,” including risks posed

  to his wife, who is also elderly and has health problems, or to his children, who would

  have to travel across state lines to attend to him).

       But aside from all of the above, this Court should deny the defendant’s motion

  because he has not demonstrated that he will not pose a danger to the community if

  released, or that his release comports with the applicable § 3553(a) factors.       In

  denying his request for compassionate release, BOP cited that Fields “scored out as

  a High Risk of recidivism.” See Doc. No. 268-1, at 1. Additionally, BOP cited Fields’s

  disciplinary record in its denial noting that Fields had “an incident report for

  possession of a cell phone within the last 12 months.” Id. Moreover, Fields’ crimes—

  conspiracy to distribute narcotics and possession of a firearm during a drug

  trafficking crime—are serious offenses; these offenses carry a presumption in favor

  of detention pursuant to the Bail Reform Act. See 18 U.S.C. § 3142. Fields also has

  a significant criminal history; prior to his federal conviction, the presentence

  investigation report noted prior offenses for possession of cocaine in 2000, possession

  of marijuana and evading arrest in 2002, unlawfully carrying a weapon and

  possession of CDS in 2003, possession of cocaine in 2004, and evading arrest in 2004.

  These prior convictions scored Fields 8 criminal history points yielding a criminal

  history category IV according to the presentence investigation report. For these

  reasons, BOP found Fields to be a poor candidate for compassionate release, and BOP

  denied his request.


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        Fields has not demonstrated that he will not pose a danger to the community

  if released, or that his release comports with the applicable § 3553(a) factors.

  Therefore, his motion should be denied.

                                   CONCLUSION

        The defendant’s motion for compassionate release should be denied on the

  merits.

                                        Respectfully submitted,

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